
100 N.Y.2d 606 (2003)
In the Matter of OYSTER BAY ASSOCIATES LIMITED PARTNERSHIP et al., Respondents,
v.
TOWN BOARD OF TOWN OF OYSTER BAY et al., Appellants.
BIRCHWOOD CIVIC ASSOCIATION AT JERICHO, INC., et al., Intervenors-Appellants.
Court of Appeals of the State of New York.
Submitted June 23, 2003.
Decided September 16, 2003.
Motions for leave to appeal dismissed upon the ground that the order sought to be appealed from does not finally determine the proceeding within the meaning of the Constitution and is not an order of the type provided for in CPLR 5602 (a) (2).
